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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA


WILFRED GUY                                                         CIVIL ACTION

VERSUS
                                                                    NO. 18-223-BAJ-RLB
JAMES LEBLANC, in his official
capacity, ET AL.


                             AMENDED SCHEDULING ORDER

       Considering the foregoing Unopposed Motion to Extend Non-Retained Expert Disclosure

Deadline (R. Doc. 12) filed on January 4, 2019, and for good cause shown;

       IT IS ORDERED that the Motion is GRANTED. In accordance with Rule 16(b)(4) of

the Federal Rules of Civil Procedure, the deadlines for the disclosure of identities and resumés of

non-retained experts are extended to February 19, 2019 (for Plaintiff) and March 8, 2019 (for

Defendants). All other deadlines remain unchanged.

       Signed in Baton Rouge, Louisiana, on January 7, 2019.



                                             S
                                             RICHARD L. BOURGEOIS, JR.
                                             UNITED STATES MAGISTRATE JUDGE
